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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                             X
JANET MONGE,                                                 :
                                                             :
                           Plaintiff,                        :
                                                             :
             - against -                                     :
                                                             :
UNIVERSITY OF PENNSYLVANIA, AMY GUTMANN,                     :
WENDELL PRITCHETT, KATHLEEN MORRISON,                        :   No. 22-cv-2942-GEKP
DEBORAH THOMAS, and CHRISTOPHER WOODS, in their              :
individual capacities, PAUL MITCHELL, BILLY PENN, MAYA       :
                                                             :
KASUTTO, in her individual capacity, THE PHILADELPHIA        :   MEMORANDUM OF LAW IN
INQUIRER, PBC, ABDUL ALIY MUHAMMAD, and JENICE               :   SUPPORT OF MEDIA
ARMSTRONG, in their individual capacities, THE NEW           :   DEFENDANTS’ MOTION
YORKER, HEATHER ANN THOMPSON, in her individual              :   TO DISMISS THE FIRST
capacity, ESPN, INC. d/b/a ANDSCAPE, NICOLE FROIO, and       :   AMENDED COMPLAINT
LINN WASHINGTON, in their individual capacities, THE         :
AMERICAN ANTHROPOLOGICAL ASSOCIATION, THE                    :
                                                             :
SOCIETY OF BLACK ARCHAEOLOGISTS, THE GUARDIAN                :
MEDIA GROUP d/b/a THE GUARDIAN, ED PILKINGTON, in            :
his individual capacity, DAILY MAIL AND GENERAL TRUST,       :
PLC d/b/a DAILY MAIL, ADAM SCHRADER, in his individual       :
capacity, SLATE, ELAINE AYERS, in her individual capacity,   :
NYP HOLDINGS, INC. d/b/a NEW YORK POST, JACKSON              :
                                                             :
O’ BRYAN, in his individual capacity, TEEN VOGUE, EZRA       :
LERNER, in his individual capacity, HYPERALLERGIC            :
MEDIA, KINJAL DAVE, and JAKE NUSSBAUM, in their              :
individual capacities, NORA MCGREEVY, AL DIA NEWS,           :
BRITTANY VALENTINE, in her individual capacity, NEW          :
YORK TIMES, CO., and MICHAEL LEVENSON, in his                :
individual capacity,                                         :
                                                             :
                           Defendants.                       :
                                                             X


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       Defendants Advance Magazine Publishers Inc. d/b/a The New Yorker and Teen Vogue,

Ezra Lerner, Heather A. Thompson, Associated Newspapers Limited d/b/a The Daily Mail, Adam

Schrader, ESPN Inc. d/b/a Andscape, Linn Washington, Nicole Froio, Guardian News & Media

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O’Bryan a/k/a Blake Montgomery, The New York Times Company, Michael Levenson, The Slate

Group, LLC, and Elaine Ayers (collectively, “Defendants”) hereby move this Court pursuant to

Federal Rule of Civil Procedure 12(b)(6) for an order dismissing the First Amended Complaint

(Dkt. 1–4)(“FAC”).

                               PRELIMINARY STATEMENT

       In this defamation action, a prominent anthropologist brings suit against numerous news

publications that truthfully reported on her use of a Black bombing victim’s bones to teach an

online anthropology course. The underlying facts are uncontested. Throughout her career, Dr.

Janet Monge (“Plaintiff”), has studied the remains found in the wreckage of the 1985 MOVE

bombing—a bombing carried out by the City of Philadelphia (the “City”) to evict members of the

black liberation organization, MOVE, from their home. Immediately after the bombing, when

Plaintiff was still a doctoral student, the City Medical Examiner’s Office tasked her and her

advisor, Dr. Alan Mann, with analyzing remains recovered from the scene and identifying the

victims. As part of this work, Dr. Mann and Plaintiff determined that certain bones did not match

the descriptions of the known victims and, thus, could not be identified. At the same time, a

separate City-appointed commission conducted its own investigation and concluded that the

unidentified bones belonged to two teenagers from the MOVE organization—Katricia Dotson

(a/k/a “Tree Africa”) and Delisha Orr (a/k/a “Delisha Africa”).

       Despite the City commission’s conclusions, the disputed bones were not returned to

members of the MOVE organization for burial. Instead, they remained under Dr. Mann’s and

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Plaintiff’s care at the Penn Museum. Then, in 2019, Plaintiff created an online course open to the

public about forensic anthropology, which focused on the MOVE bombing. During one lecture,

Plaintiff appeared in a lab, displayed the remains, and explained that she could tell they came from

a recently deceased victim because the bones were “juicy” and smelled “greasy.”

         Plaintiff does not dispute the truth of any of the foregoing facts. Instead, this lawsuit stems

merely from her disagreement with how the media reported on her actions. Specifically, in April

2021, Billy Penn, a Philadelphia news website, published an article about Plaintiff’s use of the

bones in her course. Billy Penn interviewed a living member of the MOVE organization who was

disturbed to learn that the bones were being used as props in Plaintiff’s lecture. The article sparked

immediate public debate about the Penn Museum’s continued possession of the remains and

Plaintiff’s conduct. While Plaintiff may have viewed her course as the logical culmination to a

career spent studying the MOVE remains, many members of the public saw her actions as

dehumanizing to the deceased MOVE organization children.                            Indeed, the University of

Pennsylvania and Princeton University issued immediate apologies, launched investigations into

the MOVE bones, and, in the case of Princeton’s anthropology department, acknowledged that

physical anthropology has historically “used, abused and disrespected bodies, bones and lives of

indigenous and racialized communities under the guise of research and scholarship.”

         Against this backdrop, each of the Defendants published articles about the high-profile

controversy surrounding the MOVE bones.1 Plaintiff now claims that these articles—by reporting

on her own words and conduct, suggesting that the bones may have belonged to Katricia Dotson,



1
 For ease of reference, this Motion groups together statements contained in Defendants’ Articles. At the same time,
each Article is discrete and must be scrutinized individually based on the reporting contained therein. Thus, while the
FAC should be dismissed as to all Defendants, if the Court finds that it is proper to dismiss the case against some but
not all of the Defendants, those Defendants should not remain in the case merely because the Court finds that Plaintiff
has stated a claim against another Defendant.


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and discussing criticisms of the Penn Museum and anthropology more broadly—defamed her and

cast her in a false light. But the nineteen challenged statements are: (1) non-actionable opinions

grounded in truthful facts disclosed in the articles, (2) not “of and concerning” Plaintiff, (3)

substantially true based on facts admitted in the FAC, or (4) privileged as a fair report of official

proceedings. Likewise, as a limited purpose public figure, Plaintiff does not—and cannot—plead

that Defendants published the articles with “actual malice.” And, the defamation and false light

claims against The New York Times Company and Michael Levenson are barred by

Pennsylvania’s one-year statute of limitations.

       Although Plaintiff may dislike her depiction in Defendants’ articles or believe that she is

undeserving of the commentary on her and her institutions’ actions, she cannot maintain a cause

of action based on these feelings alone. Because none of the challenged statements is actionable

and because Defendants should not be saddled with the burden of spending additional time and

resources defending a meritless lawsuit targeting the exercise of their First Amendment rights, this

Court should dismiss the FAC with prejudice as against Defendants.

                                  FACTUAL BACKGROUND

I.     THE MOVE BOMBING CONTROVERSY

       On May 13, 1985, the City of Philadelphia dropped a satchel bomb on a group of its own

residents. FAC ¶¶ 72, 75–76. For years, conflict had escalated between the City and members of

MOVE, a Black liberation group who lived in a home in West Philadelphia. Id. ¶¶ 69–71. When

MOVE refused to vacate the home, the City took a series of increasingly aggressive measures to

force the group out, culminating in dropping the bomb from a helicopter, killing eleven

individuals—six adults and five children—and burning an entire city block to the ground. Id.

¶¶ 76–79.

       The City’s egregious conduct did not end with the bombing; it then neglected to take

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appropriate steps to process the bomb scene, resulting in further mutilation of the victims’ bodies.

Id. ¶¶ 81–85. After the victims’ remains were retrieved and delivered to the City Medical

Examiner’s Office (“MEO”), the Chief Medical Examiner asked Dr. Alan Mann, a University of

Pennsylvania anthropology professor, to assist in identifying the remains. Id. ¶ 86. Dr. Mann

asked Plaintiff, who was then a doctoral student, to assist in this task. Id. ¶ 87. Upon examining

the remains, Dr. Mann and Plaintiff concluded that bones labeled “B-1” by the MEO were from a

young adult female between the ages of 17 and 21. Id. ¶ 90. But because the oldest child known

to be living in the MOVE house was 14-year-old Katricia Dotson, Dr. Mann and Plaintiff

concluded that the bones could not have belonged to any of the known MOVE victims. Id. ¶ 91.

       A few months later, Philadelphia’s Mayor created a separate MOVE Commission, tasked

with evaluating the bombing. Id. ¶ 92. The MOVE Commission, in turn, retained a group of

experts, led by Dr. Ali Hameli, to independently analyze the remains. Id. Contrary to Plaintiff’s

conclusions, Dr. Hameli’s team determined that the unidentified B-1 bones did, in fact, belong to

Katricia Dotson. Id. ¶ 93. While Plaintiff took umbrage with Dr. Hameli’s findings, id., she never

affirmatively identified any other person to whom the bones could belong. Id. ¶ 114.

       In the wake of these disparate conclusions, the bones Dr. Hameli identified as belonging

to Katricia Dotson were released to Dr. Mann and Plaintiff for continued evaluation. Id. ¶ 98.

Between 1985 and 2021, Plaintiff moved the bones from the University of Pennsylvania to

Princeton—where she was a visiting professor—on numerous occasions. Id. ¶¶ 107, 118.

II.    THE MOVE BOMBING CONTROVERSY AND THE PLAINTIFF

       A.      Plaintiff’s Forensic Anthropology Course Featuring the MOVE Remains

       In 2019, Plaintiff taught an online course, which used the MOVE bombing to show “how

forensic anthropology can be used to restore the personhood of individuals unidentified through

the scientific investigation of boney remains.” FAC ¶ 123. During one lecture, Plaintiff displayed

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the B-1 bones to viewers. Id. ¶ 128. In describing the remains, Plaintiff explained, “[t]he bones

are, I mean, we would say, like juicy. You know meaning that you can tell that they are of a

recently deceased individual.” She also described the scent of the remains, stating, “if you smell

it, it doesn’t actually smell bad, but it smells like just kind of greasy, like an older style grease.”

The course was available online until April 2021, when Princeton removed it. Id. ¶ 132.

         B.        Billy Penn and The Philadelphia Inquirer Criticize Plaintiff’s Course

         On April 21, 2021, the news website, Billy Penn, published an article discussing the MOVE

bombing and criticizing Plaintiff’s use of the B-1 bones in her online course (the “Billy Penn

Article”). See FAC ¶ 151, Dkt. 1–9 at 635–42 (“Ex. A”). The Article provided a link to the course,

which was publicly available at the time. That same day, The Philadelphia Inquirer published a

similar article criticizing the Penn Museum for its role in holding the MOVE remains and reporting

that Plaintiff had used the remains in her course (the “Philadelphia Inquirer Article”). See FAC ¶

154, Dkt. 1–9 at 643–51 (“Ex. B”).

         Notably, this was not the first time the Penn Museum was scrutinized for keeping human

remains. In 2020, the Museum was widely criticized for its Samuel G. Morton Cranial Collection,

a collection of human skulls gathered and studied by anatomist Samuel Morton in an attempt to

prove inherent differences between the races. See FAC ¶ 138. On April 12, 2021—days before

the Billy Penn and Philadelphia Inquirer Articles were published—the Museum apologized for the

“unethical possession” of the skulls and committed to returning them to their ancestral

communities to “repair for the racist and colonial practices that were integral to the formation of

these collections.”2


2
 Penn Museum, Museum Announces the Repatriation of the Morton Cranial Collection (Apr. 12, 2021), available at
https://www.penn.museum/documents/pressroom/MortonCollectionRepatriation-Press%20release.pdf. This Court
can take judicial notice of this press release not for the truth of the matters asserted therein but for the fact that it was
published. See Benak ex rel. All. Premier Growth Fund v. All. Capital Mgmt. L.P., 435 F.3d 396, 401 n.15 (3d Cir.


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         C.       Defendants Cover the Controversy Surrounding Plaintiff’s Course

         After the Billy Penn and Philadelphia Inquirer Articles were published, other media outlets

conducted further reporting on the story. Of particular relevance for this Motion are nine articles:

         The Daily Mail Article: On April 23, 2021, the Daily Mail published an article by Adam

Schrader entitled “‘They are juicy’: Princeton professor is slammed for disrespecting the bones of

a 14-year-old black girl killed by a bomb dropped by Philadelphia police in 1985 after members

of a commune fired at cops” (the “Daily Mail Article”). FAC ¶ 160(a), Dkt. 1–9 at 652–72 (“Ex.

C”). The Daily Mail Article summarizes the criticism from members of the MOVE organization

of Plaintiff’s use of the MOVE remains in her course and includes a link to the Billy Penn Article.

It quotes in full Plaintiff’s description of the bones as “juicy” and “greasy.” It also indicates that

the remains belonged to a “black child killed in a 1985 bombing” and notes that “[t]he bones have

never been positively identified but they are believed to belong to either Tree Africa, 14, or 12-

year-old Delisha Africa, who are not related.”

         The Guardian Article: On April 23, 2021, The Guardian published an article by Ed

Pilkington entitled “Bones of Black children killed in police bombing used in Ivy League

anthropology course” (the “Guardian Article”). FAC ¶ 160(b), Dkt. 1–9 at 673–82 (“Ex. D”). The

Guardian Article, like the Daily Mail Article, provides an overview of the controversy surrounding

Plaintiff’s use of the MOVE remains in her course. It reports on revelations that “the remains of

one, or possibly two, of the children who were killed in the aerial bombing of the Move

organization in May 1985 have been guarded over the past 36 years in the anthropological

collections of the University of Pennsylvania and Princeton.” It links to the Billy Penn Article,


2006) (upholding district court’s judicial notice of newspaper articles for fact of their publication, “not whether the
contents of [the] articles were in fact true”); United States v. Kindred Healthcare, Inc., 469 F. Supp. 3d 431, 438 n.3
(E.D. Pa. 2020) (“Courts may also take judicial notice of news reports to evaluate ‘what was in the public realm’ at a
given time.”) (citation omitted).


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citing it as the first outlet to report on Plaintiff’s display of the MOVE remains. It further

contextualizes the controversy, noting it “lands in the middle of a fevered debate over academia’s

handling of African American remains that has been rocket-charged by the nationwide racial

reckoning in the wake of George Floyd’s murder.” Like the Daily Mail Article, it contains

complete quotes from Plaintiff about the bones’ “greasy” scent and “juicy” appearance. The

Guardian Article also states that “[t]he Move bones have never positively been identified. But

given their small size and features, they almost certainly belong to one of the older Move girls who

died in the inferno.” Finally, The Guardian Article addresses the increasing sensitivities among

anthropologists and historians to the issues with handling remains of individuals of African

descent.

       The New York Post Article: On April 23, 2021, the New York Post published an article by

Jackson O’Bryan a/k/a Blake Montgomery entitled “Remains of black teen killed in Philadelphia

police bombing used in online class” (the “NYP Article”). FAC ¶ 160(c), Dkt. 1–9 at 683–95

(“Ex. E”). The NYP Article reports on Plaintiff’s use of the remains from the MOVE victim in

her online course and begins with the statement: “The bones of at least one black teenager killed

in the 1985 police bombing in Philadelphia are being used as a ‘case study’ in an online

anthropology course — taught by an Ivy League professor who called the remains ‘juicy.’” Like

the Daily Mail and Guardian Articles, the NYP Article includes Plaintiff’s full quotation

describing the bones as “juicy.” It also reports that “[t]he remains have never been formally

identified but analysts believe they belong to a small woman between the ages of 17 and 20—who

was one of 11 people killed when Philly police bombed a townhouse during a fight with a black

eco-liberation group called MOVE.” It also cites to a quotation from current MOVE member

Michael Africa Jr., who criticizes the use of the remains in Plaintiff’s online course. The NYP



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Article notes that this quotation originated from The Guardian Article and provides a hyperlink to

the original source. The NYP Article describes the MOVE bombing in detail and provides

photographs of the incident and its aftermath.       It concludes by reporting that the City of

Philadelphia has formally apologized for the bombing and planned a day of remembrance.

       The New York Times Article: On April 24, 2021, The New York Times Company (“The

Times”) published an article by reporter Michael Levenson entitled “Decades After Police

Bombing, Philadelphians ‘Sickened’ by Handling of Victim’s Bones” (the “Times Article”). FAC

¶ 161(a), Dkt. 1–9 at 696–98 (“Ex. F”). The Times Article provides a factual account of the MOVE

bombing and addresses the controversy surrounding the MOVE remains, including Plaintiff’s use

of the bones in her course and Plaintiff and Dr. Mann “passing the bones . . . between them for the

last 36 years.” It includes commentary from Philadelphia City Council member, Jamie Gauthier,

who remarked that she was “sickened and almost in shock” and opined that “[i]t’s just an

unbelievable amount of disrespect for Black life and an unbelievable amount of disrespect for a

child who suffered trauma, a child who was killed by her own government.” The online version

of the Times Article links to the Philadelphia Inquirer and Billy Penn Articles, citing the latter’s

report that “the remains had been kept in a cardboard box on a shelf.” It also includes commentary

from Dr. Christopher Woods, the Penn Museum director, who confirmed that Museum workers

knew for years that the bones of a MOVE bombing victim had been kept at the Museum. In so

doing, it notes that the University of Pennsylvania had also recently apologized for holding the

Morton Cranial Collection, and the Museum committed to repatriating the skulls. While the Times

Article reports that MOVE member Mike Africa Jr. suggests that the remains “may belong to

Delisha Africa or Tree Africa,” it repeatedly asserts that Dr. Mann and Plaintiff “were not able to

positively identify the victim.”



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       The Slate Article: On April 30, 2021, Slate published an article by professor Elaine Ayers

entitled “The Grim Open Secret of College Bone Collections” (the “Slate Article”). FAC ¶ 161(c),

Dkt. 1–9 at 707–14 (“Ex. H”). Citing to the Billy Penn and Philadelphia Inquirer Articles, the

Slate Article describes Plaintiff’s use of the MOVE remains in her course and includes her full

quotes about the bones being “juicy” and “greasy,” accurately noting that this description drew

criticism. It explains the disagreement between Dr. Hameli and Plaintiff over the decedents’

identification but observes that the remains “likely belonged to Delisha Africa and Katricia ‘Tree’

Africa, two black children killed in the . . . bombing.” The Slate Article then contextualizes

Plaintiff’s actions within the broader critique of anthropology as a discipline, including its use of

human remains for instruction. The Article includes commentary from history professor Ezelle

Sanford III, who describes Plaintiff’s characterization of the bones as “the most recent example of

an ongoing legacy of Black people’s bodies use for academic research and pedagogy,” discussing

it in the context of nineteenth century gynecological experiments on enslaved women and the

harvesting of Henrietta Lacks’ cervical cells at Johns Hopkins University in 1951. The Slate

Article ultimately opines that “physical anthropology departments like the ones that employ Mann

and Monge exist today as uneasy reminders of many museums’ and universities’ racist and

colonial foundations.”

       The May 7 Andscape Article: On May 7, 2021, Andscape published an article by Nicole

Froio entitled “The scandal over the MOVE bombing victims’ remains is part of anthropology’s

racist history” (the “May 7 Andscape Article”). FAC ¶ 161(e), Dkt. 1–9 at 724–30 (“Ex. J”). The

May 7 Andscape Article, linking to the Billy Penn Article, briefly discusses Plaintiff’s use of the

MOVE remains in her course. Although Plaintiff is referenced, the article is more broadly aimed

at critiquing physical anthropology as an academic discipline. It takes issue with the field’s



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practice of using the remains of marginalized communities for pedagogy, and after laying out years

of academic study and papers on anthropology’s racist and colonial origins and history, the article

opines that:

       [t]he handling of the remains of the two MOVE bombing victims is certainly not,
       as [Princeton Anthropology Department Chair Carolyn] Rouse noted, a
       ‘conspiracy.’ The reality is much worse. The theft of Tree’s and Delisha’s bones
       indicates that despite attempts to purge academia and anthropology of colonial
       logics, they are baked into the structure. It is clear that there is still a belief in the
       field of anthropology that the remains of Black people are scientific objects to be
       studied or stored away in boxes rather than laid to rest by their families.

The May 7 Andscape Article then quotes a petition from the MOVE family calling for financial

reparations, which states, “[n]ow we see clearly that the University of Pennsylvania and Princeton

University have perpetuated this racist violence by defiling the remains of our children in the name

of research.” The Article concludes, in a critique of all parties, that “[i]n death, [the MOVE

victims’] bones were used as objects of colonial plunder at academic institutions.”

       The New Yorker Article: On May 16, 2021, The New Yorker published an article by

Heather Ann Thompson entitled “Saying Her Name” (the “New Yorker Article”). FAC ¶ 161(f),

Dkt. 1–9 at 731–39 (“Ex. K”). The New Yorker Article offers a deep dive into the City’s history

with MOVE, the bombing, and the original investigation, to contextualize the criticism of

Plaintiff’s course within the broader trauma the bombing inflicted. It analyzes earlier reporting on

the course (linking to the Philadelphia Inquirer and Times Articles), arguing that a “full

consideration of the city’s history with MOVE, and of all that actually happened during the original

forensic investigation of the bodies . . . is exactly what was missing in the earliest reporting.” It

condemns the Penn Museum for storing the remains, opining—in a reference to the Morton

Collection—that “the idea that the museum was holding the bones of a Black Philadelphian who

was alive as recently as 1985 in the same way that it has held the skulls of enslaved people,

procured by grave-robbers, was beyond comprehension.” It also criticizes the City’s handling of

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the remains and notes the conflicting conclusions as to the identity of the bones, explaining “[t]he

remains that Mann claimed had never been satisfactorily identified had, in fact, been found to

belong to a teen-age girl who, along with her sister, died that day.” The New Yorker Article refers

to Plaintiff only four times: Three references relate to her role in reviewing the remains after the

bombing and the fourth relays, “[t]he week before the first press reports about the remains, Janet

Monge, at the request of the museum, returned the remains to Mann.”

       The May 26 Andscape Article: On May 26, 2021, Andscape published an article by Linn

Washington entitled “Disrespect for the MOVE families is a stain that never goes away in

Philadelphia” (the “May 26 Andscape Article”). FAC ¶ 161(h), Dkt. 1–9 at 748–56 (“Ex. M”).

The May 26 Andscape Article is not focused on Plaintiff or the online course, but rather it

contextualizes the City’s failure to take responsibility for the MOVE bombing and its aftermath.

In addressing the City’s ongoing failures, the article discusses the MOVE remains and references

the revelations about “how two anthropologists with the University of Pennsylvania Museum

mistreated the children’s charred bones.” It reports the resulting apologies, such as the “tearfully

apologetic Mayor James Kenney [who] ordered an investigation into the mistreatment of the

MOVE remains.” It also reports that, while Princeton canceled the online course, Plaintiff still

was employed by the University of Pennsylvania and the Penn Museum, despite calls for her

termination. The Article reports that, to MOVE, this lack of action “renders the University of

Penn’s apology hollow.”

       The Teen Vogue Article: On July 16, 2021, Teen Vogue published an article by Ezra

Lerner entitled “MOVE Bombing Remains Scandal Shows Enduring Racism in Anthropology”

(the “Teen Vogue Article”). FAC ¶ 161(i), Dkt. 1–9 at 757–64 (“Ex. N”). The Teen Vogue Article

provides context on the controversy surrounding the remains, describing that “[r]eporting in April



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detailed that the remains of at least one young girl—believed to possibly belong to Tree as well as

Delisha Africa, victims of the police’s 1985 bombing of the MOVE house in Philadelphia—had

been improperly kept for decades by archaeologists Alan Mann and Janet Monge.” The Teen

Vogue Article links to the Billy Penn and Philadelphia Inquirer Articles in support of this statement

and explains how Dr. Mann and Plaintiff came to possess the MOVE victims’ remains. The Article

then includes an interview of Evonne Turner-Byfield, a Ph.D. candidate pursuing a degree in

biological anthropology at the Ohio State University, who focuses her studies on the “health and

trauma of the bones of enslaved human beings.” In the interview, Turner-Byfield reflects on the

MOVE bombing and opines that her view of the Penn Museum where she once interned “feels

marred” due to “the unethical nature of how they treated the remains of these children.”

III.     THIS LITIGATION

         On April 20, 2022, Plaintiff filed a praecipe for a writ of summon in the Court of Common

Pleas against all defendants except The Times and Michael Levenson. See Dkt. 1-1. On May

17—over one year after the Times Article was published—Plaintiff filed a praecipe to reissue the

writ of summons, adding The Times and Levenson as defendants. On May 20, Plaintiff filed her

initial complaint (Dkt. 1-2), and on June 22, she filed the FAC (Dkt. 1-4), which asserts four claims

against all defendants: (1) defamation (FAC ¶¶ 178–91), (2) defamation-by-implication (FAC

¶¶ 192–208), (3) false light (FAC ¶¶ 209–16), and (4) civil aiding and abetting (FAC ¶¶ 217–21).

On July 27, 2022, Defendant Nora McGreevy removed the case to this Court. This motion

follows.3




3
  As it pertains to this motion, Plaintiff challenges the statements set forth in Paragraphs 160(a)–(c), and 161(a), (c),
(f), (h)–(i). For the Court’s convenience, Defendants have annexed a chart to this motion setting forth each statement
at issue in each article and providing the full context of each statement. See Ex. 1. Where this motion refers to
“Statement [x]” it refers to the statement numbers in the annexed chart.


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                                            ARGUMENT

        “On a motion to dismiss made pursuant to Federal Rule of Civil Procedure 12(b)(6), factual

allegations are scrutinized to determine if the allegations and inferences proposed from those

allegations are plausible.” Pace v. Baker-White, 432 F. Supp. 3d 495, 502 (E.D. Pa. 2020) (citing

Ashcroft v. Iqbal, 556 U.S. 662, 683(2009)), aff’d, 850 F. App’x 827 (3d Cir.), cert denied, 142 S.

Ct. 433 (2021). “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at

678 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 470 (2007). When analyzing a Rule

12(b)(6) motion, the Court must “disregard rote recitals of the elements of a cause of action, legal

conclusions, and mere conclusory statements.” James v. City of Wilkes-Barre, 700 F.3d 675, 679

(3d Cir. 2012). The relevant question is not whether the plaintiff “will ultimately prevail . . . but

whether [the] complaint [is] sufficient to cross the federal court’s threshold.” Skinner v. Switzer,

562 U.S. 521, 529–30 (2011) (internal citation and quotation marks omitted). Here, because the

FAC fails to state any cause of action against Defendants, it must be dismissed.

I.      PLAINTIFF FAILS TO PLEAD A DEFAMATION OR DEFAMATION-BY-
        IMPLICATION CLAIM

        To state a defamation claim, Plaintiff must plead: (1) the challenged statements were

defamatory and readers would understand them as such; (2) Defendants published the statements;

(3) the statements were about her and readers would understand as much; (4) the statements

harmed her; and (5) Defendants lacked a conditional privilege to make the statements. 42 Pa.C.S.

§ 8343. Plaintiff must also plead that the challenged statements are false and were made with

actual malice because this case involves media defendants reporting on a limited purpose public

figure. Lewis v. Philadelphia Newspapers, Inc., 833 A.2d 185, 191 (Pa. Super. 2003).

        A defamation-by-implication claim arises where, although “the words utilized themselves


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are not defamatory in nature, . . . the context in which these statements are issued creates a

defamatory implication.” Michalow v. Pasquerilla, 2016 WL 7404560, at *6 (W.D. Pa. Dec. 22,

2016) (citation omitted). In order to state a defamation-by-implication claim, in addition to the

elements of a standard defamation claim, “[a]n innuendo must be warranted, justified, and

supported by the publication.” Thomas Merton Ctr. v. Rockwell Int’l Corp., 442 A.2d 213, 217

(Pa. 1981). Further, where, as here, the plaintiff is a public figure, see infra § I.E., the plaintiff

must plead and prove by clear and convincing evidence that the defendant intended to convey each

purported implication. See Kendall v. Daily News Publ’g Co., 716 F.3d 82, 90 (3d Cir. 2013). To

hold otherwise would “eviscerate[] the First Amendment protections established by New York

Times [as] [i]t would permit liability to be imposed not only for what was not said but also for

what was not intended to be said.” Newton v. Nat’l Broad. Co., 930 F.2d 662, 681 (9th Cir. 1990).

       Because defamation claims pose a risk to free speech, they are regularly dismissed at the

earliest possible opportunity, including often prior to discovery. See, e.g., Lee v. TMZ Prods. Inc.,

710 F. App’x 551 (3d Cir. 2017) (affirming dismissal where challenged statements were protected

by fair report privilege and where plaintiff failed to adequately allege actual malice); Pace v.

Baker-White, 432 F. Supp. 3d 495 (E.D. Pa. 2020) (granting dismissal where statements at issue

were not capable of defamatory meaning and plaintiff failed to plead actual malice); Balletta v.

Spadoni, 47 A.3d 183, 183 (Pa. Commw. Ct. 2012) (affirming grant of demurrer where challenged

statements were non-actionable opinions); Jones v. City of Phila., 893 A.2d 837, 844 (Pa. Commw.

Ct. 2006) (affirming grant of demurrer when challenged statements not defamatory but rather

opinions “about the character of other people”). Such early dismissals help “avoid[] . . . long and

expensive litigation productive of nothing” and “curb[] the danger that the threat of such litigation

will be used to harass or to coerce a settlement.” First Lehigh Bank v. Cowen, 700 A.2d 498, 502



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(Pa. Super. 1997). This role is “even more essential” in First Amendment cases, “[f]or the stake

. . . if harassment succeeds, is free debate.” Id. Here, Plaintiff cannot plead the elements of a

defamation or defamation-by-implication claim because the challenged statements are either non-

actionable opinions, are not “of and concerning” her, are substantially true, or are shielded by the

fair report privilege, and because, as a public figure, Plaintiff has not pled actual malice.

Accordingly, her defamation claims must be dismissed.

A.      Eighteen Challenged Statements Are Non-Actionable Opinions

        It is a bedrock First Amendment principle that a defamation lawsuit must be based on

statements of fact, not expressions of opinion. See Milkovich v. Lorain Journal Co., 497 U.S. 1,

20 (1990); Feldman v. Lafayette Green Condo. Ass’n, 806 A.2d 497, 501 (Pa. Commw. Ct. 2002)

(“[A] statement that is merely an expression of opinion is not defamatory.”). To determine what

constitutes a non-actionable opinion, Pennsylvania courts follow the Restatement (Second) of

Torts § 566, which provides that an opinion is actionable only if it “implies the allegation of

undisclosed defamatory facts as its basis.” See Feldman, 806 A.2d at 501. Comment (c) to § 566

clarifies:

        A simple expression of opinion based on disclosed or assumed nondefamatory facts
        is not itself sufficient for an action of defamation, no matter how unjustified and
        unreasonable the opinion may be or how derogatory it is. But an expression of
        opinion that is not based on disclosed or assumed facts and therefore implies that
        there are undisclosed facts on which the opinion is based is treated differently.

The logic of this privilege is simple: “When an article discloses the underlying facts, readers can

easily judge the facts for themselves.” McCafferty v. Newsweek Media Grp., 955 F.3d 352, 357

(3d Cir. 2020). Challenged statements must therefore be analyzed in the “context of the article in

its entirety” to assess whether they are opinions. Balletta, 47 A.3d at 199. “Whether a statement

qualifies as a true opinion or an ‘opinion’ which implies the existence of undisclosed derogatory

facts is a question of law to be resolved by the Court.” Mzamane v. Winfrey, 693 F. Supp. 2d 442,

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481 (E.D. Pa. 2010). Here, because eighteen of the nineteen challenged statements are opinions,

they cannot form the basis of a libel claim.

               1.      Statements About Plaintiff’s Handling of the MOVE Bones Are Non-
                       Actionable Opinions Based on Disclosed Facts

       Plaintiff initially claims that she was defamed by five statements suggesting that she

handled the MOVE remains improperly or with disrespect. See Statements 7, 16–19. But

“personal judgments about whether an act is moral or immoral cannot be proved true or false, and

are not defamation.” Sprague v. Porter, 2013 WL 6143734, at *15 (Pa. Ct. Com. Pl. Nov. 1, 2013),

aff’d, 106 A.3d 175 (Table) (Pa. Super. 2014). In Kane v. Chester County, 811 F. App’x 65, 68

(3d Cir. 2020), for example, an employee at the Department of Children, Youth, and Families sued

the Department after he received a letter describing his conduct as “unethical, unprofessional, and

harassing.” The court held that these statements were non-actionable opinions because the letter

disclosed the basis for these opinions—that the employee left a prank voicemail with his

supervisor. Id. at 70; see also Redco Corp. v. CBS, Inc., 758 F.2d 970, 972 (3d Cir. 1985)

(implication that manufacturers acted “unethically” not defamatory because “the portions of the

broadcast which could have given rise to such an implication were expressions of opinion”).

       Here, no different than in Kane, each of the five challenged statements is an opinion based

on true facts disclosed in the respective articles—namely, that the MOVE bones had been

transferred between the University of Pennsylvania and Princeton, rather than being returned to

MOVE, and that Plaintiff displayed the bones as a teaching tool in her online course.

       First, Plaintiff challenges the Times Article’s quotation of a Philadelphia councilperson,

who said, “It’s just an unbelievable amount of disrespect for Black life.” See Statement 7. Even

in isolation, this statement—given its tenor and source—is plainly an expression of opinion. Pace,

432 F. Supp. 3d at 513 (“[I]f it is plain that the speaker is expressing a subjective view, an


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interpretation, a theory, conjecture, or surmise, rather than claiming to be in possession of

objectively verifiable facts, the statement is not actionable.”) (quoting Haynes v. Alfred A. Knopf,

Inc., 8 F.3d 1222, 1227 (7th Cir. 1993)). The surrounding context only confirms that. Immediately

before the quotation, the Times Article notes that “two Ivy League universities acknowledged that

anthropologists had been passing the bones of a young bombing victim between them for the last

36 years” and the bones were “featured in a video for an online course.” Ex. F at 1. And

immediately after the quote, the Article states that according to a member of the MOVE

organization, MOVE was unaware that the bones had been used in the video. Id. This was the

case despite the fact that the director of the Penn Museum acknowledged that Museum workers

“knew for years that the bones of a MOVE bombing victim had been kept there.” Id. In addition,

the Times Article notes that Princeton suspended Plaintiff’s online course “out of respect for the

victims of the MOVE bombing and their families.” Id. at 2. No reasonable reader would

understand the councilperson’s statement to be anything other than an expression of opinion based

on the (unchallenged) facts about Plaintiff’s conduct.

       Second, Plaintiff challenges two statements from the Teen Vogue Article: (1) the statement

that Plaintiff “improperly kept [the MOVE bones] for decades,” see Statement 18, and (2) a

quotation from a Ph.D. student who referred to Plaintiff’s use of the remains as “unethical,” see

Statement 19; see also Kane, 811 F. App’x at 68. Here too, the Teen Vogue Article fully discloses

the basis of these opinions, explaining:

       In 1985, the Philadelphia medical examiner’s office asked Mann, who enlisted the
       help of his then-doctoral student Monge, to investigate and identify a group of
       remains, as the Philly Inquirer reported. Rather than returning the remains upon
       completion of the investigation, Mann stored them at the Penn Museum, where he
       worked as an anthropologist. . . . Monge also reexamined them in her eventual
       capacity as the Penn Museum’s physical anthropology curator, and she has
       incorporated them into an online course she taught at Princeton.



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Ex. N at 1. The Teen Vogue Article also notes that the University of Pennsylvania, Penn Museum,

and Princeton University apologized for the incident and includes hyperlinks4 to statements from

these institutions referring to Plaintiff’s actions as “insensitive, unprofessional, and unacceptable”

and a “serious error in judgment.”5 Id.

         Third and finally, Plaintiff challenges two statements from the May 26 Andscape Article.

She first takes issue with the statement, “[T]wo anthropologists with the University of

Pennsylvania Museum ‘mistreated’ the children’s charred bones.” See Statement 16. But the word

“mistreated” in the May 26 Andscape Article hyperlinks to the May 7 Andscape Article, which

fully discloses the facts surrounding Plaintiff’s use of the bones in her course. Ex. M at 1. Further,

the May 26 Andscape Article itself explains that “[i]nstead of returning the remains to city

authorities or MOVE, [Plaintiff and Dr. Mann] shuffled the children’s bones between the museum

and Princeton University,” and Plaintiff “employed the bones in an online course she taught

through Princeton” (Ex. M at 4), facts that the FAC admits are true. See FAC ¶¶ 107, 127–28.

         Plaintiff also takes issue with the statement in the May 26 Andscape Article that Plaintiff’s

retention of her position “render[ed] the University of Penn’s apology hollow.” See Statement 17.

This statement too is based on Plaintiff’s use of the bones in her online course combined with the

fact, disclosed in the article, that “MOVE, activists in Philadelphia and a national coalition of


4
  Courts across the country have recognized that when the basis for an opinion is made available to readers through
hyperlinks to other records, such statements are still deemed non-actionable opinions based on disclosed facts. See
ShotSpotter Inc. v. VICE Media, LLC, 2022 WL 2373418, at *10–11 (Del. Super. Ct. June 30, 2022) (dismissing
statements in Tweets as non-actionable opinions when facts supporting the opinions were contained in hyperlinked
articles); Ganske v. Mensch, 480 F. Supp. 3d 542, 555 (S.D.N.Y. 2020) (“The inclusion of a hyperlink is particularly
significant. Several courts have determined that the inclusion of a hyperlink to a report or article . . . is a sufficient
means of disclosing a factual basis on which an opinion rests.”); Langert v. Lakewood View, 2014 WL 147320, at *5
(N.J. Super. Ct. App. Div. Jan. 16, 2014) (per curiam) (dismissing statement that plaintiff was untrustworthy because
he gambled in an “addictive manner” as non-actionable opinion when “a prior article contained hyperlinks to three
gambling sites listing [plaintiff’s] participation in poker tournaments”).
5
 Amy Guttman & Wendell Pritchett, Statement regarding human remains recovered from the MOVE home, PENN
TODAY (Apr. 26, 2021), https://tinyurl.com/yc2tf9da; Wendell Pritchett & Christopher Woods, Towards a Respectful
Resolution, Penn Museum (Apr. 28, 2021), https://tinyurl.com/2p975483.


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Black people in anthropology, archeology and bioanthropology have requested removal of

[Plaintiff],” but the University of Pennsylvania did not, in fact, remove Plaintiff. Ex. M. at 7.

Again, Plaintiff concedes the truth of these underlying facts in her FAC. See FAC ¶¶ 167–68, 175.

       At bottom, although Plaintiff attempts to justify why the universities kept the bones after

the initial investigation concluded and why she used the bones in her course, she cannot dispute

that each article discloses the truthful facts underlying the opinions she challenges. See, e.g., FAC

¶¶ 102, 107, 120, 127–30. These five challenged statements are therefore non-actionable opinions.

               2.      Four Statements Referencing Plaintiff’s Use of the Words “Juicy” and
                       “Greasy” Are Not Actionable

       Plaintiff next claims that statements in the Daily Mail, Guardian, NYP, and Slate Articles

defamed her by referencing her description of the MOVE bones as “juicy” and “greasy.” See

Statements 2, 4–5, 10. Plaintiff does not deny—nor could she—that she used these words to

describe the bones during her lecture. Instead, she claims that the articles imply that “those words

carry racial undertones when in fact they are anthropological terms of art.” See, e.g., FAC

¶ 160(b).

       As an initial matter, an article cannot “be rendered libelous ‘by an innuendo which puts an

unfair and forced construction on the interpretation of the publication.” Thomas Merton Ctr., 442

A.2d at 217 (citation omitted). “The question of whether innuendo is actionable as defamation is

a question of law.” ToDay’s Housing v. Times Shamrock Commc’ns, Inc., 21 A.3d 1209, 1215

(Pa. Super. 2011).

       Here, the implication that Plaintiff meant for the terms “juicy” and “greasy” to carry a racist

undertone is unsupported by the Articles. To the contrary, each Article provides the full context

of Plaintiff’s use of the terms “juicy” and “greasy,” making clear that she employed these words




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to explain how she could tell that the bones came from a recently deceased victim.6 And, in

general, “a plaintiff can not be defamed by the use of h[er] own words.” Smith v. Sch. Dist. of

Phila., 112 F. Supp. 2d 417, 429 (E.D. Pa. 2000). Thus, the challenged statements are non-

actionable because the articles simply quote Plaintiff and do so in a way that contradicts the

implication that she now attempts to draw. See ToDay’s Housing, 21 A.3d at 1216 (dismissing

defamation-by-implication claim when challenged articles, in context, “explicitly refuted”

purported implication).

         Even if the Articles could be read to imply that Plaintiff’s use of the terms “juicy” and

“greasy” was racist, Pennsylvania courts have made clear that “‘a simple accusation of racism’ is

not enough” to sustain a defamation action. McCafferty, 955 F.3d at 358 (citation omitted).

Instead, “the accusation must imply more, by for instance suggesting that the accused has

personally broken the law to ‘act[] in a racist manner.’” Id. (citation omitted). This is because

“[w]hat one person may view as racist may be acceptable to others as healthy socio-political

debate.” Reilly v. WNEP, 2021 WL 1017154, at *6 (Pa. Super. Mar. 17, 2021); see also

McCafferty, 955 F.3d at 355 (“People often express opinions that offend others. But the First

Amendment protects virtually all of those opinions, even offensive and hurtful ones, to promote a

greater good: robust political discourse.”); McAndrew v. Scranton Republican Publ’g Co., 72 A.2d




6
  See Ex. C (Daily Mail Article) (“Monge is heard to say of the bones: ‘The bones are, I mean, we would say, like
‘juicy.’ You know, meaning that you can tell that they are of a recently deceased individual.’ Commenting on how
they smell, Monge says their scent is ‘like kind of greasy like an older style grease.’”); Ex. D (Guardian Article)
(“Monge describes the remains in vivid terms . . . . ‘The bones are juicy, by which I mean you can tell they are the
bones of a recently deceased individual,’. . . . ‘If you smell it, it doesn’t actually smell bad – it smells kind of greasy,
like an older-style grease.’”); Ex. E (NYP Article) (“In the final lecture in the series, she picks up the bones . . . and
holds them up to the camera. ‘The bones are, I mean, we would say, like ‘juicy. You know, meaning that you can
tell that they are a recently deceased individual,’ Monge says. She describes them as smelling ‘like just kind of greasy
like an older style grease.’”); Ex. H (Slate Article) (“Monge says, when asked how she knows that the remains ‘are
the bones of a recently deceased individual,’ that ‘the bones are juicy’ and that they ‘smell kind of greasy.’”).


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780, 783 (Pa. 1950) (“It would doubtless be very annoying for a man to be charged with bigotry

of any kind, yet it has been held that for a man to be charged with such bigotry is not defamation.”).

       Here, Plaintiff does not plead the articles imply that her use of the terms “juicy” and

“greasy” broke the law. Instead, the FAC attempts to divorce the words “juicy” and “greasy” from

the full context of the Articles in which they appear, and pleads that a reader could walk away

believing her words were racially motivated. See FAC ¶¶ 160–61. Even if such an impression

were possible, it would be non-actionable opinion because it is based on the truthful fact that

Plaintiff used the words “juicy” and “greasy” to describe the bones of Black victims. See, e.g.,

Pace, 432 F. Supp. 3d at 513 (defendant who included plaintiff’s own Facebook posting on list of

posts that could “undermine public trust and confidence in police” could not be held liable for

defamation-by-implication even though plaintiff alleged this made it appear as though he

“endorsed racism”); Mallory v. S&S Publishers, 260 F. Supp. 3d 453, 461 (E.D. Pa. 2017)

(defendant who quoted plaintiff’s memoir about “picking up” famous men could not be held liable

for referring to plaintiff as a “star-seducer” because it was an opinion based on plaintiff’s own

words), aff’d, 728 F. App’x 132 (3d Cir. 2018); cf. McCafferty, 955 F.3d at 359 (“Everyone is free

to speculate about someone’s motivations based on disclosed facts about that person’s behavior.”).

Accordingly, Plaintiff’s defamation claims stemming from these statements must be dismissed.

               3.      Statements Connecting Anthropology and the Retention of the MOVE
                       Bones to Racism and Colonialism Are Opinions

       Plaintiff also alleges that four statements connecting the universities’ retention of the

MOVE bones or the field of anthropology more broadly to “racism” and “colonialism” are

personally defamatory of her. See Statements 9, 11–12, 14. But, to the extent these statements

even relate to Plaintiff at all—and for the reasons stated in Section I.B., infra, they do not—the

statements are nothing more than non-actionable accusations of racism based on disclosed facts.


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         First, Plaintiff challenges a statement from the Slate Article: “The physical anthropology

departments like the ones that employ Mann and Monge exist today as uneasy reminders of many

museums’ and universities’ racist and colonial foundations.” See Statement 9. Plaintiff cannot

legitimately contest that numerous universities across America were founded during colonial times

by individuals who expressed views that society today would consider “racist.” Moreover, this

opinion is based on the facts—disclosed in the Article—that universities and museums today still

house tens of thousands of human remains (including the Penn Museum’s Morton Cranial

Collection), that these remains were collected well into the twentieth century, and that “some

anthropologists . . . have argued that physical and forensic anthropology simply cannot be taught

without the use of human remains.” Ex. H at 2, 4.

         Second, Plaintiff challenges two statements from the May 7 Andscape Article: (1) “The

theft7 of Tree’s and Delisha’s bones indicates that despite attempts to purge academia and

anthropology of colonial logics, they are baked into the structure. It is clear that there is still a

belief in the field of anthropology that the remains of Black people are scientific objects to be

studied or stored away in boxes rather than laid to rest by their families,” see Statement 11, and

(2) “[I]n death, [Katricia and Delisha’s] bones were used as objects of colonial plunder at academic

institutions,” see Statement 12. But these opinions too are based on uncontroverted facts disclosed

in the Article. Initially, the Article states that the Penn Museum and Princeton retained the bones

of a Black bombing victim and that they were ultimately used as a pedagogical tool instead of


7
  To the extent Plaintiff challenges the use of the term “theft” in the May 7 Andscape Article, this is non-actionable
hyperbole. See Greenbelt Coop. Publ’g Ass’n v. Bresler, 398 U.S. 6, 14 (1970) (reference to “blackmail” in article
was not defamatory because “even the most careless reader must have perceived that the word was no more than
rhetorical hyperbole”). No one reading this Article could reasonably believe that Plaintiff literally stole the MOVE
remains, especially because the Article makes clear precisely how the remains got to the Penn Museum. See Ex. J at
2 (“As part of an investigation into the bombing, the Philadelphia Medical Examiner’s Office had asked Mann to
confirm the identity of the remains. It appears they were stored at Penn Museum for decades afterward,” and quoting
Princeton’s anthropology department that there was “no malicious intent in mishandling of the bones”).


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being returned to the MOVE organization. Further, it explains that, according to one cultural

anthropologist, “anthropology was invented as a response to colonialism” in order to classify “non-

European humanity in ways that would be consistent with Europe’s story of triumph as ‘progress.’”

Two other anthropologists noted, “the collection of remains of Black people for ‘educational

purposes’ dates to 1763, when the bodies of enslaved people were used for the first anatomy lecture

in the American colonies.” See Ex. J at 1–3.

        Third, Plaintiff challenges the statement from the New Yorker Article: “[T]he idea that the

museum was holding the bones of a Black Philadelphian who was alive as recently as 1985 in the

same way that it has held the skulls of enslaved people, procured by grave robbers was beyond

comprehension.” See Statement 14. Notably, the word “skulls” is a hyperlink, which directs

readers to an article from The New York Times detailing the Penn Museum’s troubled history with

the Samuel Morton Cranial Collection, noting that many of the skulls in the collection were

procured by grave robbers, and recounting the Museum’s public apology for maintaining the

collection.8 Thus, this challenged statement simply compares the Museum’s retention of the

Cranial Collection to its retention of the MOVE bones and opines that it was “beyond

comprehension” that bones from recently deceased victims were stored on shelves no different

than bones collected in the 1800s.

        At bottom, the four challenged statements draw connections between the retention of the

MOVE bones to the larger debate on the propriety of maintaining and studying human remains.

Because, in so doing, the Articles fully disclose the bases for their opinions, Statements 9, 11, 12,

and 14 cannot support Plaintiff’s defamation claim.




8
 See Jennifer Schuessler, What Should Museums Do with the Bones of the Enslaved?, N.Y. TIMES (Apr. 20, 2021),
available at https://www.nytimes.com/2021/04/20/arts/design/museums-bones-smithsonian.html.


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               4.      Statements Suggesting that the MOVE Bones May Have Been Those of
                       Katricia Dotson or Delisha Orr Are Non-Actionable

       Finally, Plaintiff challenges the characterization of the MOVE bones as being those of

Katricia Dotson and/or Delisha Orr, or even more broadly, to “children of the MOVE bombing,”

which allegedly appear in the Daily Mail, Guardian, Times, New Yorker, and Teen Vogue Articles.

See Statements 1, 3, 6, 15, 18. But Plaintiff mischaracterizes these statements. And even so, the

determination of whose bones they are is a scientific conclusion and is protected as non-actionable

opinion.

       Courts across the country have long recognized that, “as a matter of law, statements of

scientific conclusions about unsettled matters of scientific debate cannot give rise to liability for

damages sounding in defamation.” ONY, Inc. v. Cornerstone Therapeutics, Inc., 720 F.3d 490,

492 (2d Cir. 2013); see also Pacira Biosciences, Inc. v. Am. Soc’y of Anesthesiologists, Inc., 2022

WL 336585, at *5 (D.N.J. Feb. 4, 2022) (“[A] mere summary or repetition of an otherwise

protected scientific opinion is not an independently defamatory statement.”); cf. United States v.

Mitchell, 365 F.3d 215, 252 (3d Cir. 2004) (holding that a scientific conclusion, which is subject

to revision, is not a fact for purposes of Rule of Evidence 201). This is because “scientific

controversies must be settled by the methods of science rather than by the methods of litigation.”

Underwager v. Salter, 22 F.3d 730, 736 (7th Cir. 1994). As the late Judge Jack Weinstein put it:

       [S]cience is, above all, an adversary process. It is an arena in which ideas do battle
       . . . . Any unnecessary intervention by the courts in the complex debate and
       interplay among the scientists that comprises modern science can only distort and
       confuse. Humility of judges is the sine qua non of the law’s relation to science.

McMillan v. Togus Reg’l Office, Dep’t of Veterans Affairs, 294 F. Supp. 2d 305, 317 (E.D.N.Y.

2003), aff’d, 120 F. App’x 849 (2d Cir. 2005); see also Joseph v. Springer Nature, 2021 WL

1372952, at *3, *7 (S.D.N.Y. Apr. 12, 2021) (dismissing libel claim based on retraction of

scientific journal article as non-actionable opinion; whether “life may exist on other planets . . .

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remains one of the great mysteries of our time, and one that the Court has no business solving”),

aff’d sub nom. Joseph v. Springer Nature Am. Inc., 2021 WL 6105369 (2d Cir. Dec. 21, 2021).

       Here too, the identity of the MOVE bones has been the subject of debate for decades.

While Dr. Hameli’s team has long insisted that the bones are those of Katricia Dotson, see FAC

¶¶ 92–93, Dr. Mann and Plaintiff disagree and believe the bones are those of an unidentified young

adult, see id. ¶¶ 90–91. Each Article at issue acknowledges the identification of the remains is not

a settled question and instead reports on the belief or probability that the bones actually were those

of Katricia Dotson. See FAC Ex. C (Daily Mail Article) at 5 (“The bones have never been

positively identified but they are believed to belong to either Tree Africa, 14, or 12-year-old

Delisha Africa, who are not related.”); Ex. D (Guardian Article) at 6 (“The Move bones have never

positively been identified. But given their small size and features, they almost certainly belong to

one of the older Move girls who died in the inferno.”); Ex. F (Times Article) at 2 (“[Drs. Mann

and Monge] were not able to positively identify the victim, according to the museum” and “[t]he

bones, Mr. Africa said, may belong to Delisha Africa or Tree Africa, who were 12 and 14 when

they were killed, according to city officials.”); Ex. N (Teen Vogue Article) at 1 (“[T]he remains

of at least one young girl—believed to possibly belong to Tree as well as Delisha Africa . . .”)

(emphasis added in all); cf. Ex. K (New Yorker Article) at 6 (detailing conclusions of Drs. Mann

and Monge and the MOVE Commission before noting it was “officially recorded” the bones were

those of Katricia Dotson). Defendants gesture at the possibility that the remains belonged to

Katricia Dotson; the reporting is “replete with ‘hedging language’” and is “accordingly non-

actionable opinion.” Pace, 432 F. Supp. 3d at 512–13. Moreover, the FAC sheds no light on how

the Articles’ mere expression of this possibility could be either untrue or defamatory of Plaintiff.

For this reason alone, her claim based on these statements should be dismissed.



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       In any event, these statements are protected opinion. It is not for this Court to determine

which group of scientists is correct. The Articles’ assertions that the bones may or likely belong

to Katricia Dotson and/or Delisha Orr is thus non-actionable opinion, and Plaintiff’s claims

stemming from these statements must be dismissed.

       B.      Nine Statements Are Not “Of And Concerning” Plaintiff

       In addition to being opinions, nine of the challenged statements are not even about Plaintiff

and, accordingly, cannot form the basis of her defamation claims. See Statements 1, 3, 6, 9, 11–

12, 14–15. As the U.S. Supreme Court has held, a defamation claim is “constitutionally defective”

if it is not “of and concerning” the plaintiff. N.Y. Times Co. v. Sullivan, 376 U.S. 254, 288 (1964);

see also 42 Pa. C.S. § 8343(a)(3), (5). A statement is “of and concerning” an individual when it

is “capable of being reasonably understood as intended to refer to the complainant.” Harris by

Harris v. Easton Publ’g Co., 483 A.2d 1377, 1385 (Pa. Super. 1984).

       Here, Statements 9, 11, 12, and 14 each discuss the field of anthropology generally or the

Penn Museum, Princeton, and other academic institutions broadly, rather than Plaintiff

specifically. It is well established that statements made about an organization do not implicate the

organization’s members. See, e.g., Volomino v. Messenger Publ’g Co., 189 A.2d 873, 874 n.1 (Pa.

1963) (“Words criticizing a corporation, without more, are not defamatory of a person connected

with it.”); Raintree Homes, Inc. v. Birkbeck, 2013 WL 5234255, at *8 (Pa. Super. Aug. 7, 2013)

(statement about company was not “of and concerning” company’s chief officer). Similarly,

Statements 1, 3, 6, 15, and 18 discuss the identification of the remains used in Plaintiff’s course as

those of the MOVE victims. But the identity of the bones says nothing about Plaintiff. For this

additional reason, these nine statements are non-actionable.




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        C.       The FAC Establishes the Truth of Seven Statements

        To the extent they are deemed statements of fact, Statements 1, 3, 5, 6, 8, 15, and 18 must

be dismissed because they are each substantially true based on the FAC’s allegations. See FAC

¶ 176. “[T]ruth is an absolute defense to defamation.” Ames v. Am. Radio Relay League Inc.,

2016 WL 7404473, at *3–4 (E.D. Pa. Dec. 22, 2016), aff’d, 716 F. App’x 115 (3d Cir. 2017). The

literal “truth” of a publication, however, need not be established—only that the statement is

“substantially true,” i.e., “the [alleged] libel as published would have [no] different effect on the

mind of the reader from that which the pleaded truth would have produced.” Marier v. Lance,

Inc., 2009 WL 297713, at *2 (3d Cir. Feb. 9, 2009); see also id. (noting that “[t]he proof of ‘truth’

must go to the ‘gist’ or ‘sting’ of the defamation”); 42 Pa. C. S. Ann. § 8343(b)(1).9 The challenged

statements here have no different effect on the mind of a reader than the facts as alleged in the

FAC.

        First, Plaintiff challenges the Times Article’s description of how the remains “had been

kept in a cardboard box on a shelf.” See Statement 8. But the FAC concedes the truth of the

statement; it pleads that the remains were kept in Dr. Mann’s office at the Penn Museum in

“[s]torage boxes . . . made from cardboard and lined with cotton fiber for absorbency.” FAC ¶ 99.

For purposes of substantial truth, the exact storage place of the boxes and their absorbency is

immaterial. The “gist” or “sting” of the statement in the Times Article—and indeed of the Article

as a whole—is not that Plaintiff failed to follow “forensic best practices,” id., it is that Plaintiff

handled the remains in a manner viewed as insensitive and disrespectful. That view does not turn

on specific details about the boxes’ materials and how they were made.


9
  Courts routinely grant motions to dismiss based on substantial truth. See, e.g., Ames, 2016 WL 7404473, at *3–4
(dismissing libel claim where the “pleadings demonstrate on their face that the defamatory communications are true”),
Abdellatif v. Alza Wrae Indus. Co., 2019 WL 1284689, at *9–10 (E.D. Pa. Mar. 20, 2019) (granting motion to dismiss
libel claims when statements were substantially true based on press release and news article).


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       Second, the NYP Article’s statement that “the bones of at least one black teenager killed

in the 1985 police bombing in Philadelphia are being used as a case study in an online anthropology

course taught by an Ivy League professor who called the remains ‘juicy,’” see Statement 5, is also

substantially true based on the FAC. Plaintiff pleads that the B-1 bones were “recovered” “at the

site” (FAC ¶ 88) and were from a woman “likely between the ages of 17 and 21” (id. ¶ 90), and

she admits that she is a University of Pennsylvania professor (id. ¶ 19). Further, for the reasons

stated above, noting that Plaintiff referred to the bones as “juicy”—something she admits to

doing—is non-actionable. See Section I.A.2.

       Third, as discussed supra at Section I.A.4, Plaintiff claims the five statements identifying

the MOVE remains as belonging to Katricia Dotson, Delisha Orr, or children from the MOVE

organization defamed her. See Statements 1, 3, 6, 15, 18. Even if the Court were to adopt

Plaintiff’s strained reading of the Articles (see Statements Chart; compare FAC ¶¶ 160–61, with

Exhibits C, D, F, K, N), the FAC makes clear that, despite Plaintiff’s disagreements with his

conclusion, “Dr. Hameli . . . stated that the Jane Doe pelvis and femur fragments were associated

with Katricia ‘Tree Africa’ Do[t]son.” FAC ¶ 93. Thus, it is substantially true that the bones were

identified as belonging to Katricia Dotson.

D.     One Statement from the New Yorker Article Is Privileged as a Fair and Accurate
       Report of Official Proceedings

       Plaintiff’s defamation claim stemming from Statement 15 must also be dismissed because

this statement is protected by Pennsylvania’s fair report privilege. The fair report privilege

safeguards “the press from liability for the publication of defamatory material if the published

material reports on an official action or proceeding.” DeMary v. Latrobe Printing & Publ’g Co.,

762 A.2d 758, 762 (Pa. Super. 2000). The privilege attaches “[i]f the newspaper account is fair,

accurate and complete, and not published solely for the purpose of causing harm to the person


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defamed.” King v. Philadelphia Inquirer, 2017 WL 9813083, at *5 (E.D. Pa. Nov. 28, 2007)

(citation omitted).

       Here, the FAC cites to only one paragraph from the New Yorker Article, which notes,

“[t]he remains that Mann claimed had never been satisfactorily identified had, in fact, been found

to belong to a teen-age girl who, along with her sister, died that day.” See Statement 15. But later,

the New Yorker Article explains that, “[b]y the close of the official MOVE inquiry . . . official

documents related to the investigation, including one of its final legal documents—the report of

the Philadelphia County grand jury that had been convened to decide if anyone would be indicted

as a result of the deaths at Osage Avenue—had identified B-1 not simply as a teenager, nor just as

a girl, but specifically as belonging to Katricia Dotson.” See Ex. K (New Yorker Article) at 6.

Thus, Statement 15’s reference to the bones being “satisfactorily identified” clearly reports on an

official proceeding—the MOVE commission investigation. And Plaintiff does not allege that the

New Yorker Article failed to accurately describe this official proceedings or that it was published

for the sole purpose of causing harm. As such, Statement 15 is privileged and must be dismissed

on this additional ground.

E.     Plaintiff Fails To Plead Defendants Published the Articles with Actual Malice

       Plaintiff’s defamation claims also fail because she does not plead that the Articles were

published with actual malice. Under controlling constitutional principles and Pennsylvania law,

public figures like Plaintiff must plead facts sufficient to demonstrate that each challenged

statement was published with actual malice, i.e., “with knowledge of its falsity or with reckless

disregard of whether it was false.” N.Y. Times Co., 376 U.S. at 279–80; Tucker v. Phila. Daily

News, 848 A.2d 113, 130–31 (Pa. 2004) (same). On a motion to dismiss, “[p]leading ‘actual malice

buzz-words’ is simply not enough to nudge a case into discovery,” Biro v. Condé Nast, 963 F.

Supp. 2d 255, 279–80 (S.D.N.Y. 2013), aff’d, 807 F.3d 541 (2d Cir. 2015), nor will pleading

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“bald[] aver[ments]” of actual malice be sufficient. Lapinksi v. Poling, 2017 WL 1291496, at *10

(Pa. Super. Apr. 7, 2017). Thus, courts routinely dismiss defamation claims prior to discovery

based on the failure to adequately plead actual malice. See, e.g., Pace, 432 F. Supp. 3d at 513–14;

McCafferty, 955 F.3d at 359–60. This Court should do the same.

         Initially, there is no question that the actual malice standard applies here as Plaintiff is, at

a minimum, a limited purpose public figure.10 Courts have defined a limited purpose figure as “an

individual who voluntarily injects [themselves] or is drawn into a particular public controversy

and thereby becomes a public figure for a limited range of issues.” Am. Future Sys., Inc. v. Better

Bus. Bureau of E. Pa., 923 A.2d 389, 401 (Pa. 2007) (citation omitted). Here, the relevant public

controversy is the MOVE bombing and the issues with identifying the resulting remains. Plaintiff

acknowledges that the incident was “one of the most horrific examples of excessive force found

in American history,” FAC ¶¶ 4, 86–90, 94, 96, and that she played an important role in assisting

the City in the bombing’s aftermath.                Ultimately, when Plaintiff agreed to assist with the

identification of the MOVE remains, she “voluntarily assumed a position that invited attention”

that “almost inevitably put [her] into the vortex of a public controversy.”                              McDowell v.

Paiewonsky, 769 F.2d 942, 946–47, 950 (3d Cir. 1985) (architect working on publicly financed

buildings was limited purpose public figure); City of Rome v. Glanton, 958 F. Supp. 1026, 1041

(E.D. Pa. 1997) (president of non-profit art museum was limited purpose public figure), aff’d, 133

F.3d 909 (3d Cir. 1997).

         Plaintiff has parlayed her experiences in studying the MOVE remains into an illustrious

career. See, e.g., FAC ¶¶ 3, 4, 6. Plaintiff readily admits she is a public figure within the world of




10
   “The classification of a plaintiff as a public or private figure is a question of law to be determined initially by the
trial court.” Marcone v. Penthouse Int’l Magazine for Men, 754 F.2d 1072, 1081 n.4 (3d Cir. 1985).


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anthropology: she describes her “storied career” (FAC ¶ 4) as “a world-renowned forensic

physical/biological anthropologist” (id. ¶ 6) and as “an expert consultant with the Philadelphia

Medical Examiner’s Office, the Philadelphia Defenders Association, and Federal Defenders

Association” (id. ¶ 3). She has received significant recognition for her work, including being

named “Best Museum Curator” by Philadelphia Magazine.11                                  Id. ¶ 2.       Each of these

accomplishments are built upon her original work with the MOVE remains.

         In determining whether an individual qualifies as a limited purpose public figure, courts

will also analyze whether a person “enjoys ‘significantly greater access to the channels of effective

communication.’” McCafferty, 955 F.3d at 359. Plaintiff has served as a professor at two different

Ivy League universities, which have respectively provided her with platforms for her scholarship.

See FAC ¶ 119. In fact, Princeton played an instrumental role in publishing Plaintiff’s free online

course about the MOVE bombing. See, e.g., FAC ¶¶ 121–27. Thus, Plaintiff is undoubtedly a

limited purpose public figure when she is addressed in the context of the MOVE bombing and in

the broader field of anthropology.

         As a public figure, Plaintiff must adequately allege actual malice to survive a dismissal

motion. Plaintiff, however, wholly fails to meet this pleading burden. Other than repeating slight

variations of the claim that the statements were “published with knowledge that said statements,

innuendo, inference, and manner in which they were presented were false and/or with reckless

disregard for whether said material was false, said conduct constituting actual malice,” the FAC




11
  See Malcolm Burnley, Best of Philly Snapshot: Janet Monge, Best Museum Curator, PHILA. MAGAZINE (July 30,
2014),       https://www.phillymag.com/things-to-do/2014/07/30/best-of-philly-snapshot-janet-monge-best-museum-
curator/. This Court may take judicial notice of this article, not for the truth of the matters asserted therein but for the
fact of its publication. See supra note 2; Biro, 963 F. Supp. 2d at 271 n.9 (“Courts in this Circuit have employed
judicial notice in making determinations about whether plaintiffs are public figures at the motion to dismiss stage.”).


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pleads no facts supporting this conclusory allegation. See FAC ¶¶ 162, 180, 196, 214.12

         Moreover, in a multi-statement, multi-speaker defamation case, like this one, the law is

clear that actual malice cannot be pled in the abstract, disconnected from the individual speakers’

subjective states of mind. N.Y. Times, 376 U.S. at 287 (actual malice must be “‘brought home’ to

the persons . . . having responsibility for the publication”); ShotSpotter, 2022 WL 2373418, at *12

(dismissing libel claim where actual malice not “brought home” to those responsible for

publication). Here, Plaintiff does not attempt to “bring home” her conclusory allegation of actual

malice to the particular publication, let alone those responsible within the publication as required.

         Further, the Articles themselves belie the conclusion that any of the Defendants acted with

actual malice. Each of the Articles references and provides a link to previous coverage of the

controversy, see supra Factual Background Section II.C.1–9, and Defendants’ “good faith reliance

on previously published reports in reputable sources . . . precludes a finding of actual malice.”

Liberty Lobby, Inc. v. Dow Jones & Co., 838 F.2d 1287, 1297 (D.C. Cir. 1988); see also Berisha

v. Lawson, 973 F.3d 1304 (11th Cir. 2020) (“The law is clear that individuals are entitled to rely

on ‘previously published reports’ from ‘reputable sources.’”) (citation omitted), cert. denied, 141

S. Ct. 2424 (2021); Talley v. Time, Inc., 923 F.3d 878, 904 (10th Cir. 2019) (plaintiff could not

establish actual malice where defendant relied on sources which “were not believed to be false”)

(citation omitted). Plaintiff does not claim that any Defendant knew or should have known that

the Billy Penn or Philadelphia Inquirer Articles were unreliable or suspect. Additionally, many of

the Articles provide links to other official sources including government reports, public apologies



12
  Without alleging any facts in support, Plaintiff claims that Defendants published the articles “without adequately
investigating the underlying facts.” FAC ¶ 198. But courts consistently hold that the mere failure to adequately
investigate is not sufficient to establish actual malice. See, e.g., Kendall, 716 F.3d at 96 (holding that “‘[F]ailure to
investigate before publishing, even when a reasonably prudent person would have done so, is not sufficient to establish
reckless disregard’ absent some evidence showing that the defendant seriously doubted the truth of the statement.”).


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from the City and universities, and other pertinent reporting on the subjects. See supra Factual

Background Section II.C.1–9. Put simply, because the FAC and the Articles preclude a finding of

actual malice, the FAC should be dismissed.13

II.    PLAINTIFF DOES NOT—AND CANNOT—STATE A CLAIM FOR FALSE LIGHT

         To state a claim for false light invasion of privacy, a plaintiff must plead that a statement

“is not true,14 is highly offensive to a reasonable person, and is publicized with knowledge or in

reckless disregard of its falsity.” Graboff v. Colleran Firm, 744 F.3d 128, 136 (3d Cir. 2014). For

the reasons stated in Section I, supra, each statement Plaintiff challenges is either substantially

true or non-actionable opinion, and none of the statements was made with actual malice. Thus,

Plaintiff’s false light claim must also be dismissed.

III.     PLAINTIFF’S DEFAMATION AND FALSE LIGHT CLAIMS AGAINST THE
         TIMES AND LEVENSON ARE TIME-BARRED

         Plaintiff’s defamation and false light claims against The Times and Levenson fail for an

additional reason: they are time-barred. The Pennsylvania statute of limitations for these claims

is one year from the date of publication. See 42 Pa. C.S. § 5523(1); Gorman v. Shpetrik, 2022 WL

717075, at *4 (E.D. Pa. Mar. 10, 2022). Although “the statute of limitations may be tolled by

filing a praecipe for writ of summons or a complaint,” this must occur “prior to the expiration of

the limitations period.” Banka v. Columbia Broad. Co., 63 F. Supp. 3d 501, 505 (E.D. Pa. 2014)

(emphasis added). In addition, Pennsylvania courts have declined to extend the discovery rule to

defamation suits arising from mass media publications like newspapers and the news websites,



13
   Plaintiff’s defamation-by-implication claim fails for the additional reason that the FAC makes no allegation that
any Defendant intended any of the alleged defamatory implications specified in the pleadings. See Kendall, 716 F.3d
at 90.
14
  “In Pennsylvania, falsity means the same thing for false light as it does for defamation. In both contexts, an opinion
based on disclosed facts cannot be false.” McCafferty, 955 F.3d at 360.


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Leisten v. CBS Broad., Inc., 2021 WL 6550921, at *4 (W.D. Pa. Dec. 22, 2021),15 and they

routinely dismiss time-barred defamation claims at the pleading stage, see, e.g., id.; Stein v. City

of Phila., 2013 WL 6408384, at *7 (E.D. Pa. Dec. 5, 2013) (dismissing plaintiff’s “mass-media

defamation claims” on 12(b)(6) motion).

        Here, the defamation and false light claims arising from the Times Article are clearly time-

barred. The Times Article was published on April 24, 2021. Plaintiff amended her writ of

summons, naming The Times and Levenson as defendants on May 17, 2022. This was more than

one year after publication of the Times Article and, therefore, beyond the statute of limitations.

The filing of the original writ of summons against other Defendants (those other than The Times

and Levenson) does not render these claims timely. See Grossman v. DeNaples Auto Parts, Inc.,

2018 WL 4698658, at *6 (Pa. Ct. Com. Pl. Sept. 18, 2018) (“[O]nce the applicable statute of

limitations has expired, a plaintiff may not amend the writ or complaint to add a new and distinct

party.”) (citing Kincy v. Petro, 2 A.3d 490, 497 (Pa. 2010); Phillips v. Lock, 86 A.3d 906, 915 (Pa.

Super. 2014); Jacob’s Air Conditioning & Heating v. Associated Heating & Air Conditioning, 531

A.2d 494, 496 (Pa. Super. 1987)).

IV. PLAINTIFF FAILS TO PLEAD CIVIL AIDING AND ABETTING

        Plaintiff’s claim for civil aiding and abetting must also be dismissed. In Pennsylvania:

        one is subject to liability [for aiding and abetting] if he (1) does a tortious act in
        concert with the other or pursuant to a common design with him, or (2) knows that
        the other’s conduct constitutes a breach of duty and gives substantial assistance or
        encouragement to the other so to conduct himself, or (3) gives substantial assistance
        to the other in accomplishing a tortious result and his own conduct, separately

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   See also Wolk v. Olson, 730 F. Supp. 2d 376, 378–79 (E.D. Pa. 2010) (“[T]he discovery rule does not apply to mass-
media defamation.”); Bradford v. Am. Media Operations, Inc., 882 F. Supp. 1508, 1518–19 (E.D. Pa. 1995) (holding
that the discovery rule could not apply to defamation in the widely distributed Star newspaper); Barrett v. Catacombs
Press, 64 F. Supp. 2d 440, 446 (E.D. Pa. 1999) (“[T]he discovery rule should not be applied where . . . a defendant’s
alleged defamation was not done in a manner meant to conceal the subject matter of the defamation.”); Drozdowski v.
Callahan, 2008 WL 375110, at *1 (E.D. Pa. Feb. 12, 2008) (declining to apply the discovery rule to defamation
published in a book).


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       considered, constitutes a breach of duty to the third person.

Meyer v. Del. Valley Lift Truck, Inc., 392 F. Supp. 3d 483, 496–97 (E.D. Pa. 2019). Here,

Plaintiff’s aiding and abetting claim simply repeats the elements of the cause of action without

offering any facts in support. See FAC ¶¶ 217–21. Such conclusory pleadings are insufficient as

a matter of law. See Iqbal, 556 U.S. at 678 (“Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.”). Further, one Pennsylvania

court has recognized that “a publisher’s decision to print a statement is typically considered under

direct liability principles.” Mmubango v. Google, Inc., 2013 WL 664231, at *3 n.5 (E.D. Pa. Feb.

22, 2013) (“[T]he Court has not found any Pennsylvania cases recognizing a claim for aiding and

abetting defamation.”). Thus, in libel actions involving multiple defendants, when the true nature

of the claim is that “each of the Defendants said similar defamatory things,” the “defamation claims

against each named Defendant are the tort, not [a]iding and [a]betting.” Peschmann v. Quayle,

2019 WL 4744814, at *3 (W.D. Pa. Sept. 30, 2019). As Plaintiff cannot transform her defective

defamation claim into an aiding and abetting claim, the Court should also dismiss this claim.

                                         CONCLUSION

       For these reasons, Plaintiff fails to state a viable claim against Defendants and the FAC

fails. Defendants respectfully request that the Court dismiss all claims against them with prejudice

and grant any further relief as the Court deems just and proper.




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Dated: August 12, 2022



                                   Respectfully submitted,

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